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National Register of Historic Places
US Department of the Inventory-Point Sherman Light Station
yiNPS Interior (EAM) 1
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2 | 10/30/2003 |Agency Representatives [Transportation Update (JRD) 5
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93. Griffin Ken Vaughan (EAM) . 1
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004 | Ouderkirk, Matt Phillips |Ken Vaughan (EAM) 4, (b)(5)
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10 | 9/14/2004 Juneau Ranger District Improvements (JRD) 7
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12 | 9/15/2004 |Reuben Yost Ken Vaughan Wildlife Comments just received (JRD) 1

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17 | 4/6/2005 ‘Reuben Yost Regulatory Field Office Impact Statement(JRD) 3
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20 | 8/17/2005 Certification Statement(JRD) 10
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30 | 1/11/2006 {Richard Enriquez Reuben Yost No. 71100(EAM) 2
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31 | 1/11/2006 (Jeff Koschak Rueben Yost No. 71100(EAM) 5
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34 | 1/30/2006 |Reviewer Reuben Yost Access Improvements project(EAM) 1
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35 | 2/14/2006 ‘Tim Haugh Juneau Ranger District (JRD) 2
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06 | Pete Griffin Ken Vaughan Surveyors (JRD) 1
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006; | Pete Griffin Transportation Survey Access(JRD) : 1
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42 | 5/9/2006 |Tim Obst Kate Glover, Earthjustice |centerline brushing (EAM) 2
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47 | 5/18/2006 |Ken Vaughan Pete Griffin at drill sites (EAM) 2
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48 | 5/18/2006 |Ken Vaughan Pete Griffin (EAM) 2 client
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49 | 5/18/2006 | Ken Vaughan Peie Griffin 5/17 e-mails from Kate Glover 2 client
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50 | 5/18/2006 |Chan Pete Griffin coming. 2

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51 | 5/18/2006 David Zuniga Mark Chan coming...(JRD) 3
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52 | 5/18/2006 {Massey _|Pete Griffin coming..(EAM) 4
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53 | 5/18/2006 | Randolph Bayliss Elizabeth Bluemink drilling and clearing (JRD) 3
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54 | 5/18/2006 |Pete Griffin Buck Lindekugel concerns (JRD) 2
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55 | 5/19/2006 | John Leeds Pete Griffin USACE questions (EAM) 2
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han Pete Griffin met by the FWHA (EAM) 2
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57 | 5/22/2006 |Ken Vaughan Rueben Yost Bluemink) (EAM) 1
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58 | 5/24/2006 'Pete Griffin Transportation 107463 (14 pgs. Of maps) (JRD) 18
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59 | 5/25/2006 | Buck Lindekugel Pete Griffin to April 25/May 17 Letters (JRD) 1
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60 | 6/1/2006 Forest Service (EAM) 2

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61 6/1/2006 |Simila Ken Vaughan Advertisement (EAM) 1
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62 | 6/2/2006 Pete Griffin Karen Schmidt, FHA reports on field work (EAM) 2
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64 | 6/2/2006 |Vaughan Dawn Germain (EAM) 3 communication.
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65 | 6/2/2006 (Simila Ken Vaughan Earth Justice (EAM) 1 communication.
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66 | 6/6/2006 Cole Dennis Bschor (EAM) _ 6
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67 | 6/6/2006 |Pete Griffin, Keith Simila |Ken Vaughan (EAM) 1
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68 | 6/6/2006 |Keith Simila, Tim A Obst |James Thomas (EAM) 4
9:53 a.m. Call from Sue Schrader,
SEACC, question about feasibility study
Dawn C Germain, Keith of the alternative Juneau Access
69 | 6/7/2006 Simila, Pete Griffin Ken Vaughan (EAM) 1
Dawn Germain, Keith 10:42 a.m. Re: Discussion at the City
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70 | 6/7/2006 |Ouderkirk Ken Vaughan Recreation Advisory Committeee(EAM) 2

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71 6/8/2006 (Haugh Ken Vaughan Access(EAM) (1 pg)

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72 | 6/9/2006 |Keith Simila Malcolm Menzies Swope(EAM) 7
241 48

7/20 Corrections to index: 9/13 letter ( Listed in both columns (-4 from release column); 9/15/04 to Pete from Ken - withheld (-1 pg from release column):
5/18/06 no pages listed (+ 2 to release column); 6/6/ 06 1:42 moved to released column (+ 4 pgs to released column); 6/8 e-mail "FOIA received" - outside

scope (-1 pg from release column).

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